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 1                              UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3
 4   CARLOS RAMOS PACUSSICH,                   )
                                               )
 5                        Plaintiff,           )     Case No.: 2:18-cv-02340-GMN-NJK
 6         vs.                                 )
                                               )     ORDER OF DISMISSAL BY COURT FOR
 7   CITY TOWING, INC., et al.,                )     WANT OF PROSECUTION
                                               )
 8                        Defendants.          )
 9                                             )

10         This action has been pending in this Court for more than two-hundred-seventy (270)

11   days without any proceeding having been undertaken during such period.

12         Accordingly,

13         IT IS HEREBY ORDERED that the above entitled action is DISMISSED

14   WITHOUT PREJUDICE for want of prosecution pursuant to the provisions of D. Nev. Local

15   Rule 41-1.

16                      1 day of December, 2020.
           DATED this _____

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                                                   Gloria M. Navarro, Judge
20                                                 United States District Court
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